Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 1 of 41. PageID #: 166608




                               EXHIBIT 306
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 2 of 41. PageID #: 166609
    Highly Confidential - Subject to Further Confidentiality Review



                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION
                                       - - -
           IN RE: NATIONAL             :
           PRESCRIPTION                :            MDL No. 2804
           OPIATE LITIGATION           :
           ___________________________ :            Case No.
                                       :            1:17-MD-2804
           THIS DOCUMENT RELATES       :
           TO ALL CASES                :            Hon. Dan A. Polster
                                       - - -
                        Wednesday, February 27, 2019
                HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                         CONFIDENTIALITY REVIEW

                                       - - -

                      Videotaped deposition of JAMES T. SCHOEN,

           held at the Hilton Garden Inn, Perrysburg, Ohio,

           commencing at 12:59 p.m., on the above date, before

           Carol A. Kirk, Registered Merit Reporter and Notary

           Public.


                                       - - -


                         GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com




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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 3 of 41. PageID #: 166610
    Highly Confidential - Subject to Further Confidentiality Review
                                                               Page 2                                                  Page 4
     1
     2
                 A P P E A R A N C E S:
         On behalf of the Plaintiffs:
                                                                             1      ALSO PRESENT:
     3       MCHUGH FULLER LAW GROUP                                         2       Michael Newell, Videographer
             BY: LANCE REINS, ESQUIRE
     4          lance@mchughfuller.com                                               Zachary Hone, Trial Technician
     5
                ALLAN (A.J.) L. ELKINS, ESQUIRE
                allan@mchughfuller.com
                                                                         3
                  (via teleconference)                                   4                         ---
     6       97 Elias Whiddon Road
             Hattiesburg, Mississippi 39402
                                                                         5
     7       601-261-2220                                                6
     8
         On behalf of AmerisourceBergen Corporation (via                 7
     9
    10
         teleconference and text/video streaming):
              JACKSON KELLY PLLC
                                                                         8
              BY: SANDRA K. ZERRUSEN, ESQUIRE                            9
    11           skzerrusen@jacksonkelly.com
              50 South Main Street, Suite 201
                                                                        10
    12        Akron, Ohio 44308                                         11
              330-252-9060
    13                                                                  12
    14   On behalf of HBC (via teleconference and text/video
         streaming):
                                                                        13
    15                                                                  14
             MARCUS & SHAPIRA LLP
    16       BY: ELLY HELLER-TOIG, ESQUIRE
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                 ehtoig@marcus-shapira.com                              16
    17       One Oxford Center, 35th Floor
             301 Grant Street                                           17
    18       Pittsburgh, Pennsylvania 15219-6401
             412-338-3345
                                                                        18
    19                                                                  19
    20   On behalf of Walmart (via teleconference and
         text/video streaming):                                         20
    21                                                                  21
             JONES DAY
    22       BY: PATRICIA OCHMAN, ESQUIRE                               22
    23
                pochman@jonesday.com
             901 Lakeside Avenue East
                                                                        23
             Cleveland, Ohio 44114                                      24
    24       216-586-3939


                                                               Page 3                                                  Page 5
     1   On behalf of Prescription Supply, Inc.                          1        VIDEOTAPED DEPOSITION OF JAMES T. SCHOEN
     2      FOX ROTHSCHILD LLP
            BY: JAMES C. CLARK, ESQUIRE                                  2             INDEX TO EXAMINATION
     3         jclark@foxrothschild.com                                  3       WITNESS                   PAGE
               STEPHAN A. CORNELL, ESQUIRE
     4         scornell@foxrothschild.com                                4       JAMES T. SCHOEN
                  (via teleconference and text/video
     5            streaming)                                             5         CROSS-EXAMINATION BY MR. REINS:       9
            2700 Kelly Road, Suite 300
     6      Warrington, Pennsylvania 18976-3624
                                                                                   REDIRECT EXAMINATION BY MR. CLARK         143
            215-345-7500                                                 6         RECROSS-EXAMINATION BY MR. REINS:     144
     7
     8   On behalf of Johnson & Johnson and                              7
         Janssen Pharmaceuticals:
     9
                                                                         8
             TUCKER ELLIS LLP                                            9
    10       BY: JEFFREY M. WHITESELL, ESQUIRE
                jeffrey.whitesell@tuckerellis.com                       10
    11       950 Main Avenue, Suite 1100
             Cleveland, Ohio 44113
                                                                        11
    12       216-592-5000                                               12
    13
         On behalf of McKesson (via teleconference and                  13
    14   text/video streaming):
    15        COVINGTON & BURLING LLP                                   14
              BY: MARY YANG, ESQUIRE                                    15
    16           myang@cov.com
              One CityCenter                                            16
    17        850 Tenth Street, NW
              Washington, DC 20001                                      17
    18        202-662-5110                                              18
    19
         On behalf of HBC:                                              19
    20
             MARCUS & SHAPIRA LLP                                       20
    21       BY: MOIRA CAIN-MANNIX, ESQUIRE                             21
                cain-mannix@marcus-shapira.com
    22       One Oxford Center, 35th Floor                              22
             301 Grant Street
    23       Pittsburgh, Pennsylvania 15219-6401                        23
             412-338-3345                                               24
    24



                                                                                                   2 (Pages 2 to 5)
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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 4 of 41. PageID #: 166611
    Highly Confidential - Subject to Further Confidentiality Review
                                                  Page 6                                                 Page 8
      1     VIDEOTAPED DEPOSITION OF JAMES T. SCHOEN            1        Prescription Supply.
      2             INDEX TO EXHIBITS                           2            MR. WHITESELL: Jeff
      3   PSI - J. SCHOEN DESCRIPTION                   PAGE
      4   PSI - J. Schoen 1 DEA Notice of Inspection of 124     3        Whitesell of Tucker Ellis on behalf
                      Controlled Substances,                    4        of Johnson & Johnson and Janssen.
      5               Bates-stamped PSI-0000077                 5            MS. OCHMAN: Patricia Ochman,
      6   PSI - J. Schoen 2 State of Ohio Board of    142       6        Jones Day, for Walmart.
                      Pharmacy, Written Responses
      7               for Prescription Supply,
                                                                7            MS. HELLER-TOIG: Elly
                      Inc., Wholesaler/                         8        Heller-Toig for HBC Services
      8               Manufacturer, Category                    9        Company from Marcus & Shapira.
                      Three, Wholesale                         10            MS. YANG: Mary Yang with
      9               Distributor Inspection,
                      October 25, 2017,
                                                               11        Covington Burling for McKesson.
     10               Bates-stamped PSI0000007                 12            MR. ELKINS: A.J. Elkins,
                      through 83                               13        McHugh Fuller Law Group,
     11                                                        14        Plaintiffs.
     12
     13
                                                               15            MR. CORNELL: Stephan
     14                                                        16        Cornell, Fox Rothschild, for
     15                                                        17        Prescription Supply.
     16                                                        18            MS. ZERRUSEN: Sandy Zerrusen
     17
     18
                                                               19        from Jackson Kelly for
     19                                                        20        AmerisourceBergen.
     20                                                        21            THE VIDEOGRAPHER: The court
     21                                                        22        reporter today is Carol Kirk and
     22
                                                               23        will now swear in the witness.
     23
     24                                                        24                 ---

                                                  Page 7                                                 Page 9
      1                  ---                                    1              JAMES T. SCHOEN
      2             PROCEEDINGS                                 2   being by me first duly sworn, as hereinafter
      3                  ---                                    3   certified, deposes and says as follows:
      4             THE VIDEOGRAPHER: We are now                4                EXAMINATION
      5         on the record. My name is Michael               5   BY MR. REINS:
      6         Newell and I'm a videographer for               6         Q. Good afternoon.
      7         Golkow Litigation Services.                     7         A. Hi.
      8             Today's date is                             8         Q. Could you please tell us your
      9         February 27th, 2019, and the time               9   name.
     10         is 12:59 p.m.                                  10         A. James T. Schoen.
     11             This video deposition is                   11         Q. And have you been through a
     12         being held in Perrysburg, Ohio, in             12   deposition before?
     13         the Matter of National Prescription            13         A. Years ago with an auto accident.
     14         Opiate Litigation for the Northern             14   I think I was maybe 18.
     15         District of Ohio, Eastern Division.            15         Q. Got it. The reason I ask is I'm
     16             The deponent today is James                16   just going to go over some of the ground rules
     17         Schoen.                                        17   for depositions. Your counsel has probably
     18             Will counsel please identify               18   advised you, but better safe than sorry.
     19         themselves.                                    19             So, obviously, I'm going to be
     20             MR. REINS: Lance Reins with                20   taking down -- I'm going to be asking the
     21         McHugh Fuller Law Group on behalf              21   questions here today. We have a court reporter
     22         of the Plaintiff.                              22   who types everything that we say. Because of
     23             MR. CLARK: Jim Clark with                  23   that, if you could please verbalize all your
     24         Fox Rothschild on behalf of                    24   answers, no huh-uhs, um-hmms, or head nods


                                                                                   3 (Pages 6 to 9)
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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 5 of 41. PageID #: 166612
    Highly Confidential - Subject to Further Confidentiality Review
                                               Page 10                                                  Page 12
      1   because those can't be taken down, okay?            1         Q. Do you know what year he started
      2         A. Okay.                                      2   the company?
      3         Q. If you do so, I may say "Is that a         3         A. 1955.
      4   yes or is that a no," because I'm looking for a     4         Q. Your dad is now the president?
      5   verbal response. All right?                         5         A. Yes.
      6         A. Okay.                                      6         Q. His name is?
      7         Q. Please let me finish my question           7         A. Thomas G. Schoen.
      8   before you begin answering. Let me add a caveat     8         Q. And he runs the company along with
      9   to that.                                            9   his sister?
     10             Your counsel is going to object to       10         A. Yes.
     11   some my questions. So after I finish my            11         Q. And what's her name?
     12   question, if you could just wait a moment, allow   12         A. Jacquelyn Harbauer.
     13   him to object, and then you can respond. That      13         Q. Do you know what her position is?
     14   way we're not talking over one another, okay?      14         A. Secretary.
     15         A. Okay.                                     15         Q. How long have you held the
     16         Q. Lastly, if you answer my question,        16   position as controlled substance manager?
     17   I'm going to assume that you are doing two         17         A. Around 20 years.
     18   things. One, you understand the question, and,     18
     19   two, most importantly, you're telling the truth;   19
     20   is that fair?                                      20
     21         A. Yes.                                      21
     22         Q. If you don't know something or you        22
     23   don't understand my question, just let me know     23
     24   and I'll rephrase.                                 24


                                               Page 11
      1         A. Okay.                                      1
      2         Q. If you need a break for any                2
      3   reason, just let me know. It's not a marathon.      3
      4   We'll take a break when you need to, okay?          4
      5         A. Fine.                                      5
      6         Q. Can you please tell me what you do         6
      7   for a living.                                       7
      8         A. I work at Prescription Supply.             8
      9   I'm presently the controlled substance manager.     9         Q. PSI deals in the business of
     10         Q. And what is Prescription Supply,          10   distributing narcotics; is that correct?
     11   Inc. in the business of doing?                     11         A. That's some of our business,
     12         A. We're a pharmaceutical wholesaler.        12   correct.
     13         Q. And you distribute or provide             13         Q. Are you aware of the risks and
     14   medications to what type of customers?             14   dangers associated with narcotics in our
     15         A. Mostly independent pharmacies,            15   society?
     16   some doctors, and some outpatient pharmacies       16             MR. CLARK: Objection to
     17   that are in hospitals.                             17         form.
     18         Q. And how long have you worked with         18         A. Can you repeat?
     19   the company?                                       19         Q. Sure.
     20         A. Since like 1986.                          20             Are you aware that there are
     21         Q. Was your grandfather the founder?         21   certain narcotics that you're distributing that
     22         A. Yes.                                      22   are highly addictive?
     23         Q. What was his name?                        23             MR. CLARK: Objection. Form.
     24         A. Clarence J. Schoen.                       24         A. I've heard that.


                                                                             4 (Pages 10 to 13)
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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 6 of 41. PageID #: 166613
    Highly Confidential - Subject to Further Confidentiality Review
                                              Page 14                                                 Page 16
      1        Q. What have you heard?                       1   addictive nature of oxycodone?
      2            MR. CLARK: Objection to                   2             MR. CLARK: Objection to
      3        form.                                         3         form.
      4        A. That on some of the labels, it             4         A. No.
      5   says they can be addictive.                        5         Q. Other than the news, have you
      6        Q. Which ones?                                6   educated yourself as to the risks and dangers of
      7            MR. CLARK: Objection to                   7   oxycodone?
      8        form.                                         8             MR. CLARK: Objection to
      9        A. I think OxyContin was one and              9         form.
     10   maybe hydrocodone.                                10         A. Have I --
     11        Q. And your company distributes both         11         Q. Educated yourself on what the
     12   of those?                                         12   risks and/or dangers might be.
     13            MR. CLARK: Objection to                  13             MR. CLARK: Same objection.
     14        form.                                        14         A. No.
     15        A. Yes.                                      15             MR. REINS: Did you get the
     16                                                     16         answer "I don't know"?
     17                                                     17             THE COURT REPORTER: Yes.
     18                                                     18   BY MR. REINS:
     19                                                     19         Q. All right. Sir, based on the fact
     20                                                     20   that your company does distribute narcotics
     21                                                     21   which have been certified or identified by the
     22                                                     22   government, are you aware that there's federal
     23                                                     23   regulations governing the distribution of the
     24       Q. Would you agree with me, though,           24   products that you sell?

                                              Page 15                                                 Page 17
      1   that we are in the middle of an opioid epidemic    1         A. Yes.
      2   and/or crisis right now?                           2         Q. Okay. So, for instance, you're
      3              MR. CLARK: Objection to                 3   aware of the Controlled Substances Act, I would
      4          form.                                       4   presume?
      5          A. I -- I see that in the news. I've        5         A. I'm aware of it, yes.
      6   never been affected, but I don't know anybody      6         Q. Okay. Specifically --
      7   that has, you know, a problem with addiction.      7   specifically, are you aware that distributors of
      8          Q. I think -- is Candace your aunt?         8   controlled substances and Schedule I or II, the
      9          A. My cousin.                               9   Attorney General shall register an applicant to
     10          Q. Cousin. I'm sorry. She said             10   distribute a controlled substance in Schedule I
     11   she's seen it on the news.                        11   or II unless he determines that the issuance of
     12              Have you seen it on the news, that     12   such registration is inconsistent with the
     13   it's a problem?                                   13   public interest.
     14              MR. CLARK: Objection to                14             In determining the public
     15          form.                                      15   interest, the following factors shall be
     16          A. Have I seen -- yes, I've seen           16   considered: Maintenance of effective control
     17   stuff on the news regarding opioids.              17   against diversion of particular controlled
     18          Q. Have you ever attended any              18   substances into other than legitimate medical,
     19   seminars, lectures, or meetings outside of your   19   scientific, and industrial channels.
     20   company regarding the addictive nature of         20             Do you agree that PSI has the duty
     21   oxycodone?                                        21   to maintain effective controls against
     22          A. No.                                     22   diversion?
     23          Q. Have you ever read any of the           23             MR. CLARK: Objection. Form.
     24   congressional hearings or reports regarding the   24         A. No. The DEA issues us a license.


                                                                            5 (Pages 14 to 17)
                     Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 7 of 41. PageID #: 166614
    Highly Confidential - Subject to Further Confidentiality Review
                                              Page 18                                               Page 20
      1         Q. Yes, sir, and that's fair. But do          1   when these were passed in 1970 and '71,
      2   you agree that your company is responsible for      2   respectively.
      3   coming up with effective plans to prevent drug      3            MR. CLARK: Same objection.
      4   diversions of the products that you distribute?     4        Q. Did your father testify honestly
      5            MR. CLARK: Objection to                    5   and truthfully?
      6         form.                                         6            MR. CLARK: Objection to
      7         A. That's what the law is.                    7        form. There's a question pending.
      8         Q. Yes, sir. And the law is also              8        I don't think he answered the prior
      9   that any suspicious orders, pursuant to the         9
     10   federal regulations, include orders of unusual     10
     11   size, orders deviating substantially from a        11
     12   normal pattern, and orders of unusual frequency    12
     13   shall be reported, correct?                        13
     14            MR. CLARK: Objection to                   14
     15         form.                                        15
     16         A. That's what the law says.                 16
     17         Q. Yes, sir. And I believe I asked           17
     18   your dad about this. This is going to be in his    18
     19   deposition when he was taken specifically as the   19
     20   30(b), which means a corporate representative of   20
     21   PSI speaking on behalf of the company.             21
     22            And this is going to be on page 59        22
     23   of that deposition, specifically line 11.          23
     24            Your father was asked, as the             24


                                              Page 19
      1   president -- let me restate that -- as the 30(b)    1
      2   representative of PSI:                              2
      3             "What is your understanding of the        3
      4   shipping requirement? And, quite honestly, it       4
      5   shouldn't be the shipping requirement. It           5
      6   should be the anti-shipping requirement, right?"    6
      7             "Answer: That's correct."                 7
      8             "Okay. And is it your                     8
      9   understanding that the shipping requirement         9
     10   means that if we have a suspicious order, we       10
     11   need not to ship it?"                              11
     12             "Answer: Yes."                           12
     13             "And that has been the obligation        13
     14   not just upon PSI, but all the distributors, to    14
     15   your understanding, since 1971 when this           15
     16   regulation was passed?"                            16
     17             Answer on the next page at line 2,       17
     18   "Yes."                                             18
     19             You understand as -- you                 19
     20   understand that that not only is the law but has   20
     21   been the law since 1971, correct?                  21
     22             MR. CLARK: Objection to                  22
     23         form.                                        23
     24         Q. And I can show you the regulations        24


                                                                            6 (Pages 18 to 21)
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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 8 of 41. PageID #: 166615
    Highly Confidential - Subject to Further Confidentiality Review
                                               Page 22                                                   Page 24
      1                                                       1   dispensing more than a certain number of --
      2                                                       2   phentermine is one of them, hydrocodone,
      3                                                       3   oxycodone. Fentanyl is on there, prometh with
      4                                                       4   codeine. Tramadol is on there. Carisoprodol is
      5                                                       5   on there.
      6                                                       6         Q. And you have them fill out this
      7                                                       7   questionnaire when you first start doing
      8                                                       8   business with them?
      9                                                       9         A. It's before we do business -- when
     10                                                      10   they fill out their application, that is filled
     11                                                      11   out if they want -- if they expect to get
     12         A. Okay. I go about that by -- a lot         12
     13   of things determine that. How many orders they     13
     14   do per day, how many scripts they fill. They       14        Q. Okay.
     15   fill out my questionnaire and I go off of that,    15        A. So not everybody fills one out.
     16   okay?                                              16   In order to get controls, it must be filled out
     17             So I read the questionnaire, okay?       17   and completed.
     18   And that's basically the basis point of how I      18        Q. Will the questionnaire also
     19   determine what they -- you know, what they         19   have -- will it ask them kind of their -- well,
     20   receive.                                           20   let me just ask it this way: You maintain all
     21         Q. Okay.                                     21   these questionnaires for your customers?
     22         A. Okay. And I also, you know,               22             MR. CLARK: Objection to
     23   check -- I can check the population around them,   23        form.
     24   you know. They have to be a customer for a         24        Q. You keep them?

                                               Page 23                                                   Page 25
      1   little while before they get controls.              1
      2          Q. All right. Take that one at a             2
      3   time, if you don't mind. Let's start with the       3
      4   questionnaire.                                      4
      5              Did you come up with the                 5
      6   questionnaire?                                      6
      7          A. I helped.                                 7
      8              MR. CLARK: Objection to                  8
      9          form.                                        9
     10              Go ahead.                               10
     11          A. I helped with it, yes.                   11
     12          Q. Okay. And this questionnaire is          12
     13   going to be asking what types of questions?        13
     14          A. It asks pharmacy information, if         14
     15   they're affiliated with any other pharmacies,      15
     16   how long they've been in business, what are        16
     17   their store hours and what days are they open a    17
     18   week, what is the percentage of controls to        18
     19   non-controls they plan on purchasing, also what    19
     20   they dispense, the amount of cash for controlled   20
     21   substance prescriptions compared to credit         21
     22   cards, insurance, Medicaid.                        22
     23              It asks certain questions about         23
     24   certain items, all right? If they plan on          24


                                                                              7 (Pages 22 to 25)
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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 9 of 41. PageID #: 166616
    Highly Confidential - Subject to Further Confidentiality Review
                                  Page 26                                             Page 28
      1                                      1
      2                                      2
      3                                      3
      4                                      4
      5                                      5
      6                                      6
      7                                      7
      8                                      8
      9                                      9
     10                                     10
     11                                     11
     12                                     12
     13                                     13
     14                                     14
     15                                     15
     16                                     16
     17                                     17
     18                                     18
     19                                     19         Q. Why not just have unlimited
     20                                     20    opioids flowing into society? Why have a limit?
     21                                     21             MR. CLARK: Objection to
     22                                     22         form.
     23                                     23         A. That's not the right thing to do.
     24                                     24         Q. Why?


                                                                                      Page 29
      1                                      1              MR. CLARK: Same objection.
      2                                      2          A. Because they have to be prescribed
      3                                      3    for a legitimate purpose and it's -- you know.
      4                                      4          Q. Let me show you what -- your
      5                                      5    father's words. This is going to be on page 28
      6                                      6    of his deposition as a 30(b) rep, line 4.
      7                                      7              "Tell us, tell the jury why we
      8                                      8    want to prevent diversion of controlled
      9                                      9    substances."
     10                                     10              "Well, as it states, we -- it can
     11                                     11    be dangerous. People can die. People can have
     12                                     12    bad effects and they can be abused. None of
     13                                     13    that is something that we want to happen. We
     14                                     14    want the good effects, not the bad effects."
     15                                     15              Do you agree?
     16                                     16              MR. CLARK: Objection to
     17                                     17          form.
     18                                     18          A. I agree that's his opinion.
     19                                     19          Q. Not yours?
     20                                     20              MR. CLARK: Same objection.
     21                                     21          A. I agree it could be dangerous,
     22                                     22    yes.
     23                                     23          Q. People can die, right?
     24                                     24              MR. CLARK: Same objection.


                                                             8 (Pages 26 to 29)
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Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 10 of 41. PageID #: 166617
     Highly Confidential - Subject to Further Confidentiality Review
                                                 Page 30                       Page 32
      1         A. It's a possibility.                         1
      2                                                        2
      3                                                        3
      4                                                        4
      5                                                        5
      6                                                        6
      7                                                        7
      8                                                        8
      9                                                        9
     10                                                       10
     11                                                       11
     12                                                       12
     13                                                       13
     14                                                       14
     15                                                       15
     16                                                       16
     17                                                       17
     18                                                       18
     19         Q. But you do know that the law puts          19
     20    the duty on your shoulders as the distributor to   20
     21    ensure that there aren't unusual amounts or        21
     22    frequency of amounts into society, right?          22
     23             MR. CLARK: Objection to                   23
     24         form.                                         24


                                                 Page 31
      1          A. That's what the law says, yes.             1
      2          Q. And you're required to abide by            2
      3    the law, right?                                     3
      4             MR. CLARK: Objection to                    4
      5          form.                                         5
      6          A. Yes.                                       6
      7                                                        7
      8                                                        8
      9                                                        9
     10                                                       10
     11                                                       11
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                                                                   9 (Pages 30 to 33)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 11 of 41. PageID #: 166618
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 34                                 Page 36
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                                                        10 (Pages 34 to 37)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 12 of 41. PageID #: 166619
     Highly Confidential - Subject to Further Confidentiality Review
                                                Page 38                                                 Page 40
      1                                                        1   that time so that they can put an order in,
      2                                                        2   because they'll be on vacation for a week or so,
      3                                                        3   just so they have the stock.
      4                                                        4          Q. All right. I want to show you a
      5                                                        5   document. So this is going to be PSI
      6                                                        6   30(b)-301-001.
      7                                                        7              You're looking at a letter that
      8                                                        8   was issued to Cardinal September 27th, 2006, and
      9                                                        9   I'll tell you that it's basically been
     10                                                       10   stipulated that all the distributors got a
     11                                                       11   letter such as this, similar to this, and I
     12                                                       12   think your dad and your cousin, Candace, has
     13                                                       13   already testified to that.
     14                                                       14              Do you remember seeing this
     15                                                       15   letter? Not this letter, but obviously a
     16                                                       16   similar letter.
     17                                                       17              MR. CLARK: Objection to
     18                                                       18          form.
     19                                                       19          Q. And you can take a moment to look
     20                                                       20   it over. I'm not trying to rush you.
     21                                                       21              You don't have to read the whole
     22                                                       22   thing.
     23                                                       23          A. I don't recall. I don't recall
     24                                                       24   it, no.


                                                                                                        Page 41
      1                                                        1          Q. Fair enough.
      2                                                        2              So I do want to talk to you a
      3                                                        3   little bit about kind of some of the things that
      4          form.                                         4   are brought up in this letter, see if these are
      5          A. There could be many things. A              5   concepts that you recall. So we'll talk about
      6    pharmacy in the area could have closed.             6   the first paragraph, if you don't mind.
      7          Q. Okay.                                      7              It says, "This letter is being
      8          A. There may be new doctors in that           8   sent to every commercial entity in the
      9    particular area. Population growth. Maybe           9   United States registered with the Drug
     10    they're getting more patients now.                 10   Enforcement Administration to distribute
     11              There's a lot of reasons that come       11   controlled substances."
     12    into play that --                                  12              That would certainly be PSI,
     13          Q. Any others that you can think of?         13   correct?
     14    And I know you're not doing an exhaustive list,    14          A. Yes.
     15    but any others you can think of?                   15          Q. "The purpose of this letter is to
     16              MR. CLARK: Objection to                  16   reiterate the responsibilities of controlled
     17          form.                                        17   substance distributors in view of the
     18          A. Sometimes the pharmacy will call          18   prescription drug abuse problem our nation
     19    and let me know that if a pharmacist is going to   19   currently faces."
     20    be off, okay, if the main pharmacist or the        20              Under "Background," it says, "As
     21    pharmacist in charge is going to be off and        21   each of you is undoubtedly aware, the abuse,
     22    somebody else is there who has not the             22   non-medical use, of controlled prescription
     23    capability to buy -- purchase controls, they'll    23   drugs is a serious and growing health problem in
     24    ask me, okay, if I can raise it for them for       24   this country. DEA has an obligation to combat


                                                                            11 (Pages 38 to 41)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 13 of 41. PageID #: 166620
     Highly Confidential - Subject to Further Confidentiality Review
                                                Page 42                                                 Page 44
      1    this problem as one of the agency's core            1        A. That wouldn't meet -- if there was
      2    functions is to prevent the diversion of            2   a suspicious order, I would have sent them
      3    controlled substances into illicit channels."       3   information separate from this.
      4              You're aware that that's one of           4        Q. Separate from that?
      5    their duties and responsibilities, the DEA?         5        A. That's right, yes. That's
      6          A. Yes.                                       6   correct.
      7          Q. "Congress assigned DEA to carry            7        Q. We'll talk about the report
      8    out this function through enforcement of the        8   specifically, but why don't you tell me what
      9    Controlled Substance Act and DEA regulations        9   type of information you would send to the DEA
     10    that implement the Act."                           10   before 2008, when you initiated the --
     11              Specifically, on the second page,        11   specifically, the threshold system.
     12    middle part there, I want to talk to you about     12            MR. CLARK: Objection to
     13    where it says, "The DEA regulations require all    13        form.
     14    distributors to report suspicious orders of        14        Q. What did you send?
     15    controlled substances." Specifically, the          15        A. Okay. Can you repeat that?
     16    regulations state in 21 C.F.R. 1301.74(b), "The    16        Q. Sure. Yeah. Your -- Kirk, do you
     17    registrant shall design and operate a system to    17   know who Kirk is?
     18    disclose to the registrant suspicious orders of    18        A. Yes, I do.
     19    controlled substances. The registrant shall        19        Q. He testified here today he was the
     20    inform the Field Division Office of the            20   IT guy and he would do these reports pursuant to
     21    Administration in this area of suspicious orders   21   these rules and submit those reports every
     22    when discovered by the registrant. Suspicious      22   month.
     23    orders include orders of unusual size, orders      23        A. Yes.
     24    deviating substantially from a normal pattern,     24        Q. Okay. As part of the suspicious


                                                Page 43                                                 Page 45
      1    and orders of unusual frequency."                   1   order monitoring requirement under the federal
      2              Are you aware that your company,          2   regulations, but you're saying no --
      3    PSI, specifically submitted reports in writing      3            MR. CLARK: Objection to
      4    every month from approximately 1997 to 2013?        4         form. Misstates prior testimony.
      5              MR. CLARK: Objection to                   5         Q. You're saying no, he wasn't doing
      6          form.                                         6   it pursuant to the regulations; is that right?
      7          A. There was a variance report, yes.          7            MR. CLARK: Same objection.
      8    I did look at that too.                             8         A. No. No. These were sent, but
      9          Q. Okay. And you're aware that the            9   this didn't -- just because this was sent
     10    law requires a suspicious order report be          10   doesn't constitute those as suspicious orders.
     11    submitted?                                         11   There could have been a suspicious order that
     12          A. Yes.                                      12   wouldn't show up on that report.
     13              MR. CLARK: Objection. Form.              13         Q. That wouldn't have shown up?
     14          Q. And that qualified, pursuant to           14         A. Yeah. It's possible, yes.
     15    PSI, as meeting your responsibilities under the    15         Q. For example?
     16    federal law, specifically the one that you're      16            MR. CLARK: Objection to
     17    looking at right here in that regard; fair to      17         form.
     18    say?                                               18         A. I -- I -- I never had one, but,
     19              MR. CLARK: Objection to                  19   you know, it would be possible. This report was
     20          form.                                        20   a variance report which just said, you know, if
     21          A. No, I don't agree with that. That         21   somebody bought more than what the average was
     22    didn't meet suspicious order monitoring.           22   we sold per month.
     23          Q. Okay. You had a different                 23         Q. All right. So you did not -- your
     24    monitoring system?                                 24   testimony here today is that report was not in


                                                                            12 (Pages 42 to 45)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 14 of 41. PageID #: 166621
     Highly Confidential - Subject to Further Confidentiality Review
                                                Page 46                                                 Page 48
      1    fulfillment of the duties and responsibilities      1
      2    of the Code of Federal Regulations, correct?        2
      3               MR. CLARK: Objection to                  3
      4          form.                                         4
      5          A. I can't answer that. I don't               5
      6    know -- I mean, it requires more than that.         6
      7               MR. CLARK: Objection. Calls              7
      8          for legal conclusion.                         8
      9          Q. You said, "We sent" -- "I sent             9
     10    other reports." What other reports did you         10
     11    send?                                              11
     12               MR. CLARK: Objection.                   12
     13          Misstates his testimony.                     13        Q. Yeah, what defines as a -- well,
     14          A. Yeah. I didn't say I sent                 14   let me say this: Can you and I agree that the
     15    reports.                                           15   law defines what a suspicious order is, right?
     16          Q. All right. What did your company          16            MR. CLARK: Objection to
     17    do, PSI, in regards to -- well, first of all,      17        form.
     18    let's get on the same page. What's a suspicious    18        A. That's what the law is, yes.
     19    order? How do you define a suspicious order?       19        Q. Unusual size, orders deviating
     20          A. How do I define -- a suspicious           20   substantially from a normal pattern, an order of
     21    order to me is if I contact the customer after     21   unusual frequency. That is a suspicious order,
     22    an order goes on hold that I'm curious about, an   22   correct?
     23    order of interest, and I don't get an answer       23            MR. CLARK: Objection to
     24    that I believe I can be comfortable with, then     24        form.

                                                Page 47                                                 Page 49
      1    that is a suspicious order.                         1       A. According to the law, correct.
      2                                                        2       Q. According to the law?
      3                                                        3       A. Yes.
      4                                                        4       Q. Do you have a different
      5                                                        5   understanding in PSI?
      6                                                        6       A. No. I go -- do I have a different
      7                                                        7   understanding? No.
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                                                                             13 (Pages 46 to 49)
                       Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 15 of 41. PageID #: 166622
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 50                                              Page 52
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     14                                      14        Q. Okay. Let's go beyond Kirk.
     15                                      15   Let's go beyond his testimony. Let's talk about
     16                                      16   the company's policies and procedures.
     17                                      17            Are you aware there's policies and
     18                                      18   procedures?
     19                                      19            MR. CLARK: Objection to
     20                                      20        form.
     21                                      21        A. Yes.
     22                                      22
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                                                           14 (Pages 50 to 53)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 16 of 41. PageID #: 166623
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 54                                 Page 56
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                                                        15 (Pages 54 to 57)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 17 of 41. PageID #: 166624
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 58                                 Page 60
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                                                        16 (Pages 58 to 61)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 18 of 41. PageID #: 166625
     Highly Confidential - Subject to Further Confidentiality Review
                                                Page 62                     Page 64
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                                                Page 63
      1         Q. That's okay. I'll ask it                1
      2    differently.                                    2
      3             Look at page 3, if you don't mind,     3
      4    on the DEA letter.                              4
      5         A. Okay.                                   5
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                                                               17 (Pages 62 to 65)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 19 of 41. PageID #: 166626
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 66                                 Page 68
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                                                        18 (Pages 66 to 69)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 20 of 41. PageID #: 166627
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 70                                 Page 72
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                                                        19 (Pages 70 to 73)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 21 of 41. PageID #: 166628
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 74                                 Page 76
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                                                        20 (Pages 74 to 77)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 22 of 41. PageID #: 166629
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 78                                              Page 80
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      4                                       4             THE VIDEOGRAPHER: We're
      5                                       5        going off the record at 2:03.
      6                                       6             (Recess taken.)
      7                                       7             THE VIDEOGRAPHER: We're back
      8                                       8        on the record at 2:11.
      9                                       9   BY MR. REINS:
     10                                      10        Q. You discussed with us today about
     11                                      11   the setting of the threshold limits and then the
     12                                      12   elevating or raising of those limits.
     13                                      13             Are there any policies and
     14                                      14   procedures within PSI which provides some
     15                                      15   guidance or parameters for doing either of those
     16                                      16   tasks?
     17                                      17             MR. CLARK: Objection to
     18                                      18        form.
     19                                      19        Q. That you've seen.
     20                                      20        A. No.
     21                                      21        Q. So not to oversimplify it, it
     22                                      22   really comes down to your discretion, right?
     23                                      23             MR. CLARK: Objection to
     24                                      24        form.


                                                                                       Page 81
      1                                       1         A. Yes.
      2                                       2         Q. Based on the things you've already
      3                                       3   talked to us about?
      4                                       4             MR. CLARK: Same objection.
      5                                       5         Q. The criteria you said?
      6                                       6         A. And my experience.
      7                                       7         Q. Yeah.
      8                                       8             I'm going to now show you a chart,
      9                                       9   and this is a summary which we have created from
     10                                      10   PSI600, which is transactional data that PSI has
     11                                      11   produced to us. So we're going to look at that
     12                                      12   real quick.
     13                                      13             MR. REINS: I have an extra
     14                                      14         copy for you, but I'm going to have
     15                                      15         to use it from the last deposition,
     16                                      16         which I believe it was Number 6.
     17                                      17         So the witness can have one.
     18                                      18   BY MR. REINS:
     19                                      19         Q. All right. So I tell you where it
     20                                      20   comes from so that you understand where it comes
     21                                      21   from, okay? So what we've done is we've
     22                                      22   isolated some transactions in certain periods of
     23                                      23   time. And if you zoom in to the top left there
     24                                      24   column, there's a pharmacy.


                                                            21 (Pages 78 to 81)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 23 of 41. PageID #: 166630
     Highly Confidential - Subject to Further Confidentiality Review
                                                 Page 82                     Page 84
      1              Are you familiar with this             1
      2    pharmacy?                                        2
      3         A. Yes.                                     3
      4         Q. And you can see the screen in            4
      5    front of you it may be helpful because this is   5
      6    small.                                           6
      7         A. Yes.                                     7
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                                                                22 (Pages 82 to 85)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 24 of 41. PageID #: 166631
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 86                                 Page 88
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                                                        23 (Pages 86 to 89)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 25 of 41. PageID #: 166632
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 90                                 Page 92
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                                                        24 (Pages 90 to 93)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 26 of 41. PageID #: 166633
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 94                                 Page 96
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                                                        25 (Pages 94 to 97)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 27 of 41. PageID #: 166634
     Highly Confidential - Subject to Further Confidentiality Review
                                  Page 98                                Page 100
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                                                       26 (Pages 98 to 101)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 28 of 41. PageID #: 166635
     Highly Confidential - Subject to Further Confidentiality Review
                                            Page 102                                               Page 104
      1                                                      1            Well, before we do that, you
      2                                                      2   understand we talked in the very beginning of
      3                                                      3   this deposition about you don't want to ship a
      4                                                      4   suspicious order.
      5                                                      5
      6                                                      6
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     14                                                     14
     15                                                     15        Q. Let me --
     16                                                     16            MR. CLARK: Were you done
     17                                                     17        answering?
     18                                                     18            MR. REINS: I think he was
     19                                                     19        done.
     20                                                     20            THE WITNESS: Yes.
     21                                                     21   BY MR. REINS
     22                                                     22        Q. Let's look at this one, and this
     23                                                     23   may be what you're talking about. Again, I'm
     24                                                     24   not here to trick you or anything.

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     18                                                     18
     19         Q. Okay.                                    19
     20         A. I know I went to the store to talk       20
     21    to him, spoke to him on the phone a few times.   21
     22         Q. All right. Moving along. Let's           22
     23    go back to the policy dealing with inventory     23
     24    controls.                                        24


                                                                      27 (Pages 102 to 105)
                     Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 29 of 41. PageID #: 166636
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 106                                Page 108
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                                                      28 (Pages 106 to 109)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 30 of 41. PageID #: 166637
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 110                                Page 112
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                                                      29 (Pages 110 to 113)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 31 of 41. PageID #: 166638
     Highly Confidential - Subject to Further Confidentiality Review
                                            Page 114                                     Page 116
      1                                                      1   A.   Zero.
      2                                                      2   Q.   Zero. All right.
      3                                                      3
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      5         Q. All right. Sitting here today,            5
      6    can you testify under oath that you recall how    6
      7    many times you refused to raise a threshold       7
      8    since 2008?                                       8
      9              MR. CLARK: Objection to                 9
     10         form.                                       10
     11         Q. If you know.                             11
     12         A. I have no idea.                          12
     13         Q. Got it.                                  13
     14              Can you tell me -- now, let's say      14
     15    you do that analysis, okay, and then you go --   15
     16    well, let's just say this: You do that           16
     17    analysis. When if ever -- because after 2013     17
     18    you all stopped sending those forms monthly.     18
     19              So when, if ever, after 2013, when     19
     20    those forms stopped, would you report a          20
     21    quote/unquote "suspicious order"? Since then,    21
     22    how many times?                                  22
     23              MR. CLARK: Objection to                23
     24         form.                                       24


                                                                 30 (Pages 114 to 117)
                     Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 32 of 41. PageID #: 166639
     Highly Confidential - Subject to Further Confidentiality Review
                                              Page 118                                                Page 120
      1                                                        1   substances.
      2                                                        2             "The regulation also requires that
      3                                                        3   the registrant inform the local DEA division
      4                                                        4   office of suspicious orders when discovered by
      5                                                        5   the registrant."
      6                                                        6             Is that what you understand the
      7                                                        7   rules to include?
      8                                                        8             MR. CLARK: Objection to
      9                                                        9         form.
     10                                                       10         Q. That when you get a suspicious
     11                                                       11   order, you should let them know when you receive
     12                                                       12   it, correct?
     13                                                       13             MR. CLARK: Objection to
     14                                                       14         form.
     15                                                       15         A. I've heard different things with
     16                                                       16   that from DEA.
     17                                                       17         Q. You have?
     18                                                       18         A. Yes.
     19                                                       19         Q. What else have you heard?
     20                                                       20         A. I went to a wholesaler -- DEA
     21                                                       21   wholesaler meeting -- I believe it was in
     22                                                       22   Indianapolis -- where the DEA has
     23                                                       23   representatives there and they talk to the
     24                                                       24   wholesalers and keep us updated on the laws and


                                                                                                      Page 121
      1                                                        1   regulations.
      2          Q. Sure. All right. We're going to            2             One of the attorneys that works
      3    talk about another DEA letter.                      3   for DEA had said that do our due diligence first
      4              All right. And this is after the          4   and then, you know, make that judgment. So she
      5    other one. This is going to be PSI                  5   was an attorney that worked for DEA.
      6    30(b)-301-001. This is dated December 27th,         6         Q. "Make that judgment," meaning
      7    2007. Again, this letter was sent to all the        7   what?
      8    distributors.                                       8         A. On if it's a suspicious order or
      9              It says, "This letter is being            9   not.
     10    sent to every entity in the United States          10         Q. Okay. And if you think it's a
     11    registered with the Drug Enforcement               11   suspicious order, you should report it
     12    Administration, DEA, to manufacture or             12   immediately, correct?
     13    distribute controlled substances.                  13         A. Yes.
     14              "The purpose of this letter is to        14             MR. CLARK: Objection to
     15    reiterate the responsibilities of the controlled   15         form.
     16    substance manufacturers and distributors to        16         Q. Okay. All right.
     17    inform DEA of suspicious orders in accordance      17             "Filing a monthly report of
     18    with 21 C.F.R. 1301.74(b).                         18   completed transactions ergo excessive purchase
     19              "In addition to and not in lieu of       19   report or high unit purchases does not meet the
     20    the general requirement of 21 USC 23 that          20   regulatory requirement to report suspicious
     21    managers and distributors maintain effective       21   orders."
     22    controls against diversion, DEA regulations        22             Sitting here today, you're aware
     23    require all manufacturers and distributors to      23   that the reporting you guys did from 2000 -- I'm
     24    report suspicious orders of controlled             24   sorry -- from 1997 to 2013, that that monthly


                                                                        31 (Pages 118 to 121)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 33 of 41. PageID #: 166640
     Highly Confidential - Subject to Further Confidentiality Review
                                             Page 122                                                Page 124
      1   report that Kirk did, that was after those had      1         Q. Just that you acknowledge that
      2   all been shipped; you're aware of that, right?      2   they're there?
      3             MR. CLARK: Objection to                   3             MR. CLARK: Same objection.
      4         form.                                         4         A. They always give me this form and
      5         A. Yes, on the report, correct.               5   I always sign it, okay, when they come in, all
      6         Q. "Registrants are reminded that             6   right.
      7   their responsibility does not end merely with       7         Q. Okay.
      8   the filing of a suspicious order report.            8         A. You know, I have no reason not to
      9   Registrants must conduct an independent analysis    9   sign it. They're there for an inspection. I'm
     10   of suspicious orders prior to completing a sale    10   fine with that.
     11   to determine whether the controlled substances     11         Q. Okay.
     12   are likely to be diverted from legitimate          12         A. I'm not sure why they give you
     13   channels."                                         13   this paper. I'm not with DEA.
     14                                                      14         Q. Fair enough. Can I see it back if
     15                                                      15   you don't mind. We'll just mark that.
     16                                                      16                  ---
     17                                                      17       (PSI - J. Schoen Exhibit 1 marked.)
     18                                                      18                  ---
     19                                                      19
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      6           Q. Okay. All right. I'll take that          6
      7    back from you.                                     7
      8               I've got a document here, and I'm       8
      9    sorry, I don't have extra copies. I just don't     9
     10    know what it is. We'll make it Plaintiffs'        10
     11    Exhibit Number 1, I guess. I haven't been         11
     12    marking a bunch because we've used the same       12
     13    documents.                                        13
     14               So I'll show it to your attorney       14
     15    first, if you don't mind, and then I'm just       15
     16    going to have you identify what that is.          16
     17           A. It's a DEA inspection.                  17
     18           Q. Okay. And you're signing off that       18
     19    you're aware that there's an inspection, I        19
     20    guess, in the building? Strike that.              20
     21               What is the purpose of this form,      21
     22    if you know?                                      22
     23               MR. CLARK: Objection to                23
     24           form.                                      24


                                                                       32 (Pages 122 to 125)
                      Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 34 of 41. PageID #: 166641
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 126                                Page 128
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                                                      33 (Pages 126 to 129)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 35 of 41. PageID #: 166642
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 130                                Page 132
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                                                      34 (Pages 130 to 133)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 36 of 41. PageID #: 166643
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 134                                Page 136
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                                                      35 (Pages 134 to 137)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 37 of 41. PageID #: 166644
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 138                                Page 140
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                                                      36 (Pages 138 to 141)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 38 of 41. PageID #: 166645
     Highly Confidential - Subject to Further Confidentiality Review
                                         Page 142                        Page 144
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      7                                              7
      8              MR. REINS: Mark that as         8
      9        Plaintiffs' Exhibit Number 2.         9
     10                   ---                       10
     11       (PSI - J. Schoen Exhibit 2 marked.)   11
     12                   ---                       12
     13              MR. CLARK: Are we continuing   13
     14        from Kirk or are these new?          14
     15              MR. REINS: They're new, but    15
     16        I'll tell you what I've done here.   16
     17        I've gotten really revolutionary.    17
     18        I've identified a number of the      18
     19        documents that have been exhibits    19
     20        in other depos by Bates numbers so   20
     21        we know what they are, but I         21
     22        haven't attached them all again      22
     23        because, frankly, I have one copy    23
     24        left.                                24


                                         Page 143
      1           MR. CLARK: That's fine.            1
      2           MR. REINS: Okay.                   2
      3           THE WITNESS: Are we done           3
      4       with this, then?                       4
      5           MR. REINS: Yes, sir, we are.       5
      6       And honestly, we're going to take a    6
      7       quick break because I may be done.     7
      8           THE VIDEOGRAPHER: We're            8
      9       going off the record at 3:04.          9
     10           (Recess taken.)                   10
     11           THE VIDEOGRAPHER: We're back      11
     12       on the record at 3:14.                12
     13           MR. REINS: I have no more         13
     14       questions.                            14
     15               ---                           15
     16           REDIRECT EXAMINATION              16
     17    BY MR. CLARK:                            17
     18                                             18
     19                                             19
     20                                             20
     21                                             21
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                                                         37 (Pages 142 to 145)
                    Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 39 of 41. PageID #: 166646
     Highly Confidential - Subject to Further Confidentiality Review
                                 Page 146                                Page 148
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                                                      38 (Pages 146 to 149)
                  Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 40 of 41. PageID #: 166647
     Highly Confidential - Subject to Further Confidentiality Review
                                             Page 150                                                         Page 152
      1                                                       1           CERTIFICATE
      2                                                       2   STATE OF OHIO     :
      3                                                                         SS:
                                                              3   COUNTY OF __________:
      4
                                                              4
      5                                                       5          I, JAMES T. SCHOEN, do hereby certify that I
      6                                                       6   have read the foregoing transcript of my
      7                                                       7   cross-examination given on February 27, 2019; that
      8                                                       8   together with the correction page attached hereto
      9                                                       9   noting changes in form or substance, if any, it is
     10                                                      10   true and correct.
     11                                                      11                   _____________________________
                                                                                  JAMES T. SCHOEN
     12
                                                             12
     13
                                                             13          I do hereby certify that the foregoing
     14                                                      14   transcript of the cross-examination of JAMES T. SCHOEN
     15                                                      15   was submitted to the witness for reading and signing;
     16                                                      16   that after he had stated to the undersigned Notary
     17                                                      17   Public that he had read and examined his
     18                                                      18   cross-examination, he signed the same in my presence
     19                                                      19   on the _______ day of _________________________, 2019.
                                                             20
     20
                                                                                 _____________________________
     21          MR. REINS: Gotcha.
                                                             21                  NOTARY PUBLIC - STATE OF OHIO
     22          I have no more questions.                   22
     23       Thanks for your time.                          23   My Commission Expires:
     24          MR. CLARK: Nothing further.                 24   _________________, ______.


                                             Page 151                                                         Page 153
      1           THE VIDEOGRAPHER: We're                     1                CERTIFICATE
                                                              2   STATE OF OHIO           :
      2       going off the record at 3:20 p.m.                                       SS:
      3           (Signature not waived.)                     3   COUNTY OF FRANKLIN :
                                                              4          I, Carol A. Kirk, a Registered Merit
      4                ---                                        Reporter and Notary Public in and for the State of
      5        Thereupon, at 3:20 p.m., on Wednesday,         5   Ohio, duly commissioned and qualified, do hereby
                                                                  certify that the within-named JAMES T. SCHOEN was by
      6   February 27, 2019, the deposition was concluded.    6   me first duly sworn to testify to the truth, the whole
      7                ---                                        truth, and nothing but the truth in the cause
                                                              7   aforesaid; that the deposition then given by him was
      8                                                           by me reduced to stenotype in the presence of said
      9                                                       8   witness; that the foregoing is a true and correct
                                                                  transcript of the deposition so given by him; that the
     10                                                       9   deposition was taken at the time and place in the
                                                                  caption specified and was completed without
     11                                                      10   adjournment; and that I am in no way related to or
     12                                                           employed by any attorney or party hereto or
                                                             11   financially interested in the action; and I am not,
     13                                                           nor is the court reporting firm with which I am
     14                                                      12   affiliated, under a contract as defined in Civil Rule
                                                                  28(D).
     15                                                      13
     16                                                                 IN WITNESS WHEREOF, I have hereunto set my
                                                             14   hand and affixed my seal of office at Columbus, Ohio
     17                                                           on this 4th day of March 2019.
     18                                                      15
                                                             16
     19                                                      17
     20                                                      18               _____________________________
                                                                              CAROL A. KIRK, RMR
     21                                                      19               NOTARY PUBLIC - STATE OF OHIO
     22                                                      20   My Commission Expires: April 9, 2022.
                                                             21            ---
     23                                                      22
                                                             23
     24                                                      24


                                                                           39 (Pages 150 to 153)
                     Golkow Litigation Services - 877.370.DEPS
Case: 1:17-md-02804-DAP Doc #: 1964-94 Filed: 07/23/19 41 of 41. PageID #: 166648
     Highly Confidential - Subject to Further Confidentiality Review
                                                  Page 154
      1           DEPOSITION ERRATA SHEET
      2   I, JAMES T. SCHOEN, have read the transcript
          of my deposition taken on the 27th day of February
      3   2019, or the same has been read to me. I request that
          the following changes be entered upon the record for
      4   the reasons so indicated. I have signed the signature
          page and authorize you to attach the same to the
      5   original transcript.
      6   Page Line Correction or Change and Reason:
      7   ___ ____ ___________________________________________
      8   ___ ____ ___________________________________________
      9   ___ ____ ___________________________________________
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     23   ___ ____ ___________________________________________
     24   Date ______________ Signature ________________________




                                                                   40 (Page 154)
                         Golkow Litigation Services - 877.370.DEPS
